

People v Madison (2025 NY Slip Op 50473(U))



[*1]


People v Madison (Darrell)


2025 NY Slip Op 50473(U)


Decided on April 11, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 11, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570059/19

The People of the State of New York, Respondent,
againstDarrell Madison, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Beth Beller, J.), rendered October 26, 2018, after a nonjury trial, convicting him of attempted assault in the third degree, attempted petit larceny, attempted criminal possession of a weapon in the fourth degree, attempted endangering the welfare of a child, and attempted criminal mischief in the fourth degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Beth Beller, J.), rendered October 26, 2018, affirmed.
The verdict was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). The victim's testimony was corroborated by photographs of her injuries and the testimony of her daughter, who witnessed most of the domestic violence incident. Issues of credibility, including the weight to be given to the inconsistencies in testimony, were properly considered by the trier of fact. There is no basis upon which to disturb its decision to credit the testimony of the People's witnesses and to reject the testimony of the defense witnesses.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: April 11, 2025









